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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF NEW YORK

    PATRICIA BARRY,                                  Case No:

            Plaintiff,
                                                     JURY TRIAL DEMANDED
            v.

    LYDALL, INC., MARC T. GILES,
    SARA A. GREENSTEIN, DAVID G.
    BILLS, JAMES J. CANNON, PAUL W.
    GRAVES, SUZANNE HAMMETT, and
    KATHERINE C. HARPER,

            Defendants.


      COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS

       Plaintiff Patricia Barry (“Plaintiff”), by Plaintiff’s undersigned attorneys, for Plaintiff’s

complaint against Defendants (defined below), alleges the following based upon personal

knowledge as to Plaintiff and Plaintiff’s own acts, and upon information and belief as to all other

matters, based upon, inter alia, the investigation conducted by and through Plaintiff’s attorneys.

                                  NATURE OF THE ACTION

       1.        This is an action against Lydall, Inc. (“Lydall” or the “Company”) and its Board

of Directors (the “Board” or the “Individual Defendants”) for their violations of Sections 14(a)

and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a) and

78t(a), and Rule 14a-9 promulgated thereunder by the SEC, 17 C.F.R. § 240.14a-9, in connection

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with the proposed acquisition (the “Proposed Transaction”) of Lydall by Unifrax Holding Co.

(“Parent”), Outback Merger Sub, Inc. (“Merger Sub”), a direct, wholly owned subsidiary of

Parent, and Unifrax I LLC (“Unifrax”). Unifrax, Parent, and Merger Sub are affiliates of Clearlake

Capital Group, L.P.

                                 JURISDICTION AND VENUE

         2.    The claims asserted herein arise under and pursuant to Sections 14(a) and 20(a) of

the Exchange Act (15 U.S.C. §§ 78n(a) and 78t(a)) and Rule 14a-9 promulgated thereunder by the

SEC (17 C.F.R. § 240.14a-9).

         3.    This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331, and Section 27 of the Exchange Act, 15 U.S.C. § 78aa.

         4.    Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) and Section 27 of

the Exchange Act (15 U.S.C. § 78aa(c)) as a substantial portion of the transactions and wrongs

complained of herein had an effect in this District, the alleged misstatements entered and the

subsequent damages occurred in this District, and the Company conducts business in New York

City.

         5.    In connection with the acts, conduct and other wrongs alleged in this complaint,

Defendants, directly or indirectly, used the means and instrumentalities of interstate commerce,

including but not limited to, the United States mails, interstate telephone communications and the

facilities of the national securities exchange.

                                             PARTIES

         6.    Plaintiff is, and has been at all relevant times hereto, an owner of Lydall common

stock.




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        7.      Defendant Lydall designs, manufactures, and markets specialty engineered

filtration media, industrial thermal insulating solutions, and automotive thermal and acoustical

barriers for filtration/separation and thermal/acoustical applications worldwide. The Company is

incorporated in Delaware. The Company’s common stock trades on the New York Stock

Exchange under the ticker symbol, “LDL.”

        8.      Defendant Marc T. Giles (“Giles”) is Chairman of the Board of the Company.

        9.      Defendant Sara A. Greenstein (“Greenstein”) is President, Chief Executive

Officer, a director of the Company.

        10.     Defendant David G. Bills (“Bills”) is a director of the Company.

        11.     Defendant James J. Cannon (“Cannon”) is a director of the Company.

        12.     Defendant Paul W. Graves (“Graves”) is a director of the Company.

        13.     Defendant Suzanne Hammett (“Hammett”) is a director of the Company.

        14.     Defendant Katherine C. Harper (“Harper”) is a director of the Company.

        15.     Defendants Giles, Greenstein, Bills, Cannon, Graves, Hammett, and Harper are

collectively referred to herein as the “Individual Defendants.”

        16.     Defendants Lydall and the Individual Defendants are collectively referred to herein

as the “Defendants.”

                               SUBSTANTIVE ALLEGATIONS

    A. The Proposed Transaction

        17.     On June 21, 2021, Lydall announced that Unifrax had signed definitive agreements

to acquire Lydall. Under the terms of the agreement, Lydall shareholders will receive $62.10 per

share in cash for each share outstanding. The press release announcing the Proposed Transaction

states, in pertinent part:




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         Clearlake Capital-Backed Unifrax to Acquire Lydall, Inc. for $62.10 per
                                        share

          Creates Market Leading Global Specialty Materials Platform Focused
         On Innovative Battery Materials, Filtration Solutions, and Energy Saving
                                     Technologies

       June 21, 2021 08:45 ET | Source: Lydall, Inc.

       TONAWANDA, N.Y. and MANCHESTER, Conn., June 21, 2021 (GLOBE
       NEWSWIRE) -- Unifrax, a leading global provider of high-performance specialty
       materials focused on thermal management, specialty filtration, battery materials,
       emission control and fire protection applications backed by Clearlake Capital
       Group, L.P. (“Clearlake”), today announced it has signed definitive agreements to
       acquire Lydall, Inc. (NYSE: LDL, “Lydall” or the “Company”), a leader in the
       design and production of specialty filtration materials and advanced material
       solutions. With its leading technologies and 23 manufacturing facilities around the
       world, Lydall is well positioned to capitalize on growth in clean air filtration and
       electric vehicle adoption, among many other attractive markets. Under the terms of
       the agreement, Lydall shareholders will receive $62.10 per share in cash for each
       share outstanding, implying a total enterprise value of approximately $1.3 billion.

                                         *      *       *

       Morgan Stanley & Co. LLC acted as lead financial advisor, J.P. Morgan acted as
       financial advisor, and Kirkland & Ellis acted as legal counsel to Unifrax in the
       transaction. BofA Securities is acting as exclusive financial advisor, and Davis Polk
       & Wardwell LLP is acting as legal counsel to Lydall in connection with the
       transaction.

       Approvals and Timing

       The transaction, which has been approved by the boards of directors of both
       companies, is expected to close in the second half of 2021 subject to the receipt of
       required regulatory approvals, approvals of Lydall stockholders and other
       customary closing conditions.

       18.    On July 21, 2021, the Company filed a Schedule 14A Preliminary Proxy Statement

under Section 14(a) of the Exchange Act (the “Proxy Statement”) with the SEC in connection with

the Proposed Transaction.

   B. The Proxy Statement Contains Materially False and Misleading Statements and
      Omissions

       19.    The Proxy Statement, which recommends that Lydall shareholders vote in favor of

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the Proposed Transaction, omits and/or misrepresents material information concerning: (i)

Lydall’s financial projections; and (ii) the financial analyses performed by Lydall’s financial

advisor, BofA Securities, Inc. (“BofA”), in connection with its fairness opinion.

       20.      The omission of the material information (referenced below) renders the following

sections of the Proxy Statement false and misleading, among others: (i) Recommendation of the

Lydall Board of Directors; (ii) Lydall’s Reasons for the Merger; (iii) Opinion of Lydall’s Financial

Advisor; and (iv) Projected Financial Information.

       21.      Unless and until the material misstatements and omissions (referenced below) are

remedied before the anticipated shareholder vote on the Proposed Transaction, Lydall shareholders

will be forced to make a voting decision on the Proposed Transaction without full disclosure of all

material information. In the event the Proposed Transaction is consummated, Plaintiff may seek

to recover damages resulting from Defendants’ misconduct.

             1. Material Omissions Concerning Lydall’s Financial Projections

       22.      The Proxy Statement omits material information concerning Lydall’s financial

projections.

       23.      With respect to the “Projections,” the Proxy Statement fails to disclose: (1) all line

items underlying (i) Net Sales, (ii) Adjusted EBITDA, and (iii) Unlevered Free Cash Flow; (2) the

Company’s net income projections; (3) why Unlevered Free Cash Flow was not calculated for the

“Aspirational Case”; and (4) a reconciliation of all non-GAAP to GAAP metrics.

       24.      The disclosure of this information is material because it would provide the

Company’s shareholders with a basis to project the future financial performance of the Company

and would allow shareholders to better understand the financial analyses performed by the

Company’s financial advisor in support of its fairness opinion. Shareholders cannot hope to

replicate management’s inside view of the future prospects of the Company. Without such

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information, which is uniquely possessed by Defendant(s) and the Company’s financial advisor,

the Company’s shareholders are unable to determine how much weight, if any, to place on the

Company’s financial advisor’s fairness opinion in determining whether to vote for or against the

Proposed Transaction.

       25.      When a company discloses non-GAAP financial metrics in a Proxy Statement that

were relied upon by its board of directors in recommending that shareholders exercise their

corporate suffrage rights in a particular manner, the company must also disclose, pursuant to SEC

Regulation G, all projections and information necessary to make the non-GAAP metrics not

misleading, and must provide a reconciliation (by schedule or other clearly understandable

method) of the differences between the non-GAAP financial metrics disclosed or released with the

most comparable financial metrics calculated and presented in accordance with GAAP. 17 C.F.R.

§ 244.100. 1

       26.      The above-referenced omitted information, if disclosed, would significantly alter

the total mix of information available to the Company’s shareholders.

             2. Material Omissions Concerning BofA’s Analyses

       27.      In connection with the Proposed Transaction, the Proxy Statement omits material

information concerning analyses performed by BofA.

       28.      With respect to BofA’s “Selected Public Companies Analysis” and “Selected



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  Mary Jo White, Keynote Address, International Corporate Governance Network Annual
Conference: Focusing the Lens of Disclosure to Set the Path Forward on Board Diversity, Non-
GAAP, and Sustainability (June 27, 2016), https://www.sec.gov/news/speech/chair-white-icgn-
speech.html (footnotes omitted) (last visited July 30, 2021) (“And last month, the staff issued
guidance addressing a number of troublesome practices which can make non-GAAP disclosures
misleading: the lack of equal or greater prominence for GAAP measures; exclusion of normal,
recurring cash operating expenses; individually tailored non-GAAP revenues; lack of consistency;
cherry-picking; and the use of cash per share data. I strongly urge companies to carefully consider
this guidance and revisit their approach to non-GAAP disclosures.”).

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Precedent Transactions Analysis,” the Proxy Statement fails to disclose the individual multiples

and financial metrics of each company and transaction BofA observed in its analyses.

        29.     The Proxy Statement fails to disclose the following concerning BofA’s

“Discounted Cash Flow Analysis”: (1) all line items underlying Lydall’s standalone unlevered,

after-tax free cash flows used in the analysis; (2) the terminal values for Lydall; and (3) the

individual inputs and assumptions underlying the (i) range of EBITDA multiples of 7.0x to 9.0x,

and (ii) range of discount rates of 9.0% to 12.0%.

        30.     The Proxy Statement fails to disclose the following concerning BofA’s analysis of

analyst price targets for Lydall stock: (1) the individual price targets observed by BofA in its

analysis; and (2) the sources thereof.

        31.     The valuation methods, underlying assumptions, and key inputs used by

BofA in rendering its purported fairness opinion must be fairly disclosed to Lydall shareholders.

The description of BofA’s fairness opinion and analyses, however, fails to include key inputs and

assumptions underlying those analyses. Without the information described above, Lydall

shareholders are unable to fully understand BofA’s fairness opinion and analyses, and are thus

unable to determine how much weight, if any, to place on them in determining whether to vote for

or against the Proposed Transaction. This omitted information, if disclosed, would significantly

alter the total mix of information available to the Company’s shareholders.

                                          COUNT I
          For Violations of Section 14(a) and Rule 14a-9 Promulgated Thereunder
                                   Against All Defendants
        32.     Plaintiff repeats and realleges each and every allegation contained above as if fully

set forth herein.

        33.     During the relevant period, Defendants, individually and in concert, directly or

indirectly, disseminated or approved the false and misleading Proxy Statement specified above,


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which failed to disclose material facts necessary in order to make the statements made, in light of

the circumstances under which they were made, not misleading, in violation of Section 14(a) of

the Exchange Act and Rule 14a-9 promulgated thereunder by the SEC.

       34.     Each of the Individual Defendants, by virtue of his/her positions within the

Company as officers and/or directors, were aware of the omitted information but failed to disclose

such information, in violation of Section 14(a) of the Exchange Act. Defendants, by use of the

mails and means and instrumentalities of interstate commerce, solicited and/or permitted the use

of their names to file and disseminate the Proxy Statement with respect to the Proposed

Transaction. The Defendants were, at minimum, negligent in filing the materially false and

misleading Proxy Statement.

       35.     The false and misleading statements and omissions in the Proxy Statement are

material in that a reasonable shareholder would consider them important in deciding how to vote

on the Proposed Transaction.

       36.     By reason of the foregoing, Defendants have violated Section 14(a) of the Exchange

Act and Rule 14a-9 promulgated thereunder.

       37.     Because of the false and misleading statements and omissions in the Proxy

Statement, Plaintiff is threatened with irreparable harm.

                                            COUNT II
                         Violations of Section 20(a) of the Exchange Act
                               Against the Individual Defendants

       38.     Plaintiff repeats and realleges each and every allegation contained in the foregoing

paragraphs as if fully set forth herein.

       39.     The Individual Defendants acted as control persons of the Company within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their senior positions




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as officers and/or directors of the Company and participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false statements contained in the Proxy

Statement filed with the SEC, they had the power to and did influence and control, directly or

indirectly, the decision-making of the Company, including the content and dissemination of the

false and misleading Proxy Statement.

       40.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to

and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected. As officers and/or directors of a publicly owned

company, the Individual Defendants had a duty to disseminate accurate and truthful information

with respect to the Proxy Statement, and to correct promptly any public statements issued by the

Company which were or had become materially false or misleading.

       41.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the operations of the Company, and, therefore, is presumed to have had the power

to control or influence the particular transactions giving rise to the securities violations as alleged

herein, and exercised the same. The Individual Defendants were provided with or had unlimited

access to copies of the Proxy Statement and had the ability to prevent the issuance of the statements

or to cause the statements to be corrected. The Proxy Statement at issue contains the

recommendation of the Individual Defendants to approve the Proposed Transaction. Thus, the

Individual Defendants were directly involved in the making of the Proxy Statement.

       42.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were involved in negotiating, reviewing, and approving the Proposed

Transaction. The Proxy Statement purports to describe the various issues and information that they




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reviewed and considered—descriptions which had input from the Individual Defendants.

       43.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       44.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9

promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their positions

as controlling persons, the Individual Defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of Defendants’ conduct, the Company’s

shareholders will be irreparably harmed.

                                    PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction and

any vote on the Proposed Transaction, unless and until Defendants disclose and disseminate the

material information identified above to Company shareholders;

       B.      In the event Defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;

       C.      Declaring that Defendants violated Sections 14(a) and 20(a) of the Exchange Act,

and Rule 14a-9 promulgated thereunder;

       D.      Awarding Plaintiff reasonable costs and expenses incurred in this action, including

counsel fees and expert fees; and

       E.      Granting such other and further relief as the Court may deem just and proper.




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                                 JURY TRIAL DEMANDED

       Plaintiff hereby demands a trial by jury.

Dated: July 30, 2021                                Respectfully submitted,

                                                    HALPER SADEH LLP

                                                    By: /s/ Daniel Sadeh
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                                                    vice)
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